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                          Exhibit D
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 From:          Young, Brian (CRM)
 To:            Jason Silva
 Cc:            Joseph Mancano; Forensics; Russell, Carly (CRM)
 Subject:       RE: US v Newland, et al
 Date:          Friday, March 20, 2020 10:46:07 AM


As to your request for 0081-19A, that item will fit on a 100GB drive. Could you please send a
drive with that amount of storage or greater to Carly Russell so that she may transfer the data
to it?

From: Jason Silva [mailto:jsilva@cornerstonediscovery.com]
Sent: Thursday, March 19, 2020 5:17 PM
To: Young, Brian (CRM) <Brian.Young@CRM.USDOJ.GOV>
Cc: Joseph Mancano <jdm@cedrone-mancano.com>; Forensics
<forensics@cornerstonediscovery.com>
Subject: US v Newland, et al

Brian,

Thanks for taking the time this morning to discuss the open/pending discovery issues in this
case.
As we discussed, per my discussion with AUSAs Pletcher and Huie last week in San Diego
and representation by them to the Judge, in this case, my understanding is the defense will
have the opportunity to be provided a copy of the forensic images of all the non-classified
data. This included, as a starting point- evidence control number 209-16A.

Based on our conversation this morning, I understand the DOJ's position is we will not be
permitted to examine this drive in its entirety, but your office has previously taken some steps
to filter data from this drive - even before the hearing in San Diego last week, and there is
approximately 90GB of data which will be made available. As you mentioned, "someone
screwed up", and you believe there is classified information on this drive. Can you explain
further who made this mistake, and when and how it was determined that this was the case?

As to the data now listed as derived evidence item 81-19A, I would kindly request an
explanation of the methodology used to determine if classified material is contained on a drive
that has already been deemed non-classified. To the extent this full forensic image of the
device was processed in some tool, please provide the processing step and settings used
(restore deleted content, etc). To the extent an automatic or human filter was applied, please
provide the methodology (keywords, etc) to determine what if anything is being withheld from
production and to the extent possible a listing of any/all files which are not being produced
from this device.

As I mentioned, this 209-16A is the first device we are discussing, but my understanding is we
will be allowed to obtain copies of ALL non-classified forensic images. Please let me know
the best way to logistically handle this. If separate hard drives would be best, or a NAS storage
device will be needed.

Thank you for your time.
                    Jason Silva / Managing Director
                    jsilva@cornerstonediscovery.com
                    Office: 267.639.6900 | Cell: 484.574.0761
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